

Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee) (2024 NY Slip Op 01602)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee)


2024 NY Slip Op 01602


Decided on March 21, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 21, 2024

PM-48-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Sun Min Lee, Respondent. (Attorney Registration No. 4640587.)

Calendar Date:March 4, 2024

Before:Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel) for Attorney Grievance Committee for the Third Judicial Department. 	Sun Min Lee, Daegu, South Korea, respondent pro se. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel) for Attorney Grievance Committee for the Third Judicial Department.
Sun Min Lee, Daegu, South Korea, respondent pro se.



Motion by respondent for an order reinstating them to the practice of law following their suspension by October 2023 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 220 AD3d 1012, 1014 [3d Dept 2023]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to January 8, 2024 and the February 29, 2024 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Egan Jr., J.P., Aarons, Ceresia, McShan and Mackey, JJ., concur.








